Case 1:21-cv-00184-MW-GRJ Document 31-25 Filed 12/03/21 Page 1 of 4




                Exhibit 25
              Case 1:21-cv-00184-MW-GRJ Document 31-25 Filed 12/03/21 Page 2 of 4


Reid,Teresa Jean

From:                              Reid,Teresa Jean
Sent:                              Tuesday, November 2, 2021 9:24 PM
To:                                Reid,Teresa Jean
Subject:                           FW: amicus brief




From: Nunn, Kenneth B. <nunn@law.ufl.edu>
Sent: Monday, July 13, 2020 4:28 PM
To: Nunn, Kenneth B. <nunn@law.ufl.edu>
Subject: Re: amicus brief

Dear Colleagues.

If you haven’t yet filled out your UFOLIO request, you might want to use the following method. Laura said this:

        I have confirmed that the university will approve this activity so long as you participate solely in your individual
        capacity. You may not participate in your capacity as an employee of the University of Florida or on behalf of
        the Levin College of Law or the University of Florida. Please ensure that the amicus brief clearly indicates that
        any law school or university affiliation is included for identification purposes only. 12-month employees must
        also ensure that all work on the amicus brief is done on personal time and no university equipment is used.

        Once you submit your UFOLIO request, I will approve it using language similar to that set forth above.


I filled out a disclosure form on UFOLIO for signing onto the amicus brief. I selected “Pillsbury Winthrop Shaw Pittman
LLP” as the entity involved. I selected “legal consultant” as the form of the relationship. For question 12 (Please explain
whether you think this activity/case could in any way place you in a position that is adverse to the interests of the
University of Florida. Also, include any additional information that helps clarify this disclosure.), I put the following:

        It will not put me in a position adverse to the interests of the University of Florida. I simply wish to sign on to an
        amicus brief, as one of more than 100 professors of law, to express an opinion about the proper interpretation
        of the law in regards to not infringing on the voting rights of ex-felons as provided by citizen initiative in the
        State of Florida. I understand that I may not participate in my capacity as an employee of the University of
        Florida or on behalf of the Levin College of Law or the University of Florida. I will ensure that the amicus brief
        clearly indicates that any law school or university affiliation is included for identification purposes only.

Hope this helps.

Kenneth


--
Kenneth B. Nunn, Esq.
Professor of Law and
University Term Professor (2018-21)
University of Florida
Levin College of Law
                                                              1
                Case 1:21-cv-00184-MW-GRJ Document 31-25 Filed 12/03/21 Page 3 of 4
P.O. Box 117625
Gainesville, FL 32611
352-273-0660 (p)
352-392-3005 (f)




From: Mark Fenster <fenster@law.ufl.edu>
Date: Thursday, July 9, 2020 at 6:42 PM
To: Kenneth Nunn <nunn@law.ufl.edu>
Subject: Re: amicus brief

Great, thanks!


        On Jul 9, 2020, at 6:19 PM, Nunn, Kenneth B. <nunn@law.ufl.edu> wrote:

        FYI

        From: Jennifer Zedalis <zedalis@law.ufl.edu>
        Date: Thursday, July 9, 2020 at 6:15 PM
        To: Kenneth Nunn <nunn@law.ufl.edu>
        Subject: Fw: amicus brief

        hi Ken, see below.


        From: Rosenbury,Laura Ann <rosenbury@law.ufl.edu>
        Sent: Thursday, July 9, 2020 6:03 PM
        To: Zedalis,Jennifer Mary <zedalis@law.ufl.edu>
        Subject: Re: amicus brief

        I agree that the site is insufficient! Please just click any of the options regarding litigation (expert
        witness might be best) and then explain what you are doing in the comments.

        Thank you. I’m working with them to improve the system, and this email will be helpful.

        Laura

        Laura Ann Rosenbury
        Dean, UF Levin College of Law




                 On Jul 9, 2020, at 5:31 PM, Zedalis,Jennifer Mary <zedalis@law.ufl.edu> wrote:

                 hello Laura, I saw your message about obtaining permission to sign off on an
                 amicus brief, and I went to the UFOLIO site, but there is no provision in the "list"


                                                               2
Case 1:21-cv-00184-MW-GRJ Document 31-25 Filed 12/03/21 Page 4 of 4

 for signing off on a brief. It is mostly financial stuff. Can you let us know where it
 is? thanks from jz




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